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         By ECF                                                                        April 20, 2022
         Honorable Gabriel W. Gorenstein
         United States Magistrate Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                 In Re: New York City Policing During Summer 2020 Demonstrations,
                        No. 20 Civ. 8924 (CM) (GWG)
                        This filing is related to all cases

         Your Honor:

                 I am a Senior Counsel in the Office of the Hon. Sylvia O. Hinds-Radix, Corporation
         Counsel of the City of New York, and I am among counsel for the defense in the above-referenced
         matter. Defendants write to respectfully request a one-week extension from April 21, 2022, until
         April 28, 2022, to respond to plaintiffs’ letter to the Court filed on April 19, 2020, (Dkt. No. 504).
         This extension is necessary as defense counsel, Dara Weiss, who has been handling this particular
         matter regarding Sgt. Mullins, is out of the office this week, and her input is required to prepare a
         response. This is defendants’ first request for an extension of time to respond to plaintiffs’ letter
         filed on April 19, 2022. The undersigned sought plaintiffs’ position a number of times today,
         beginning at 11:30 a.m., but as of the filing, do not have plaintiffs’ position on this request.

                 Thank you for your consideration herein.


                                                               Respectfully submitted,


                                                               Amy Robinson s/
                                                               Amy Robinson
                                                               Senior Counsel
                                                               Special Federal Litigation Division

         cc:     ALL COUNSEL (via ECF)
